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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

MARC ROSEMOND
       Plaintiff,
v.                                                    Case No.: 8:16-cv-03272-RWT
VERIZON MARYLAND, LLC, et al.
       Defendants.


                         PARTIES’ STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties
hereby stipulate that this action is dismissed with prejudice.

       Respectfully Submitted,

KARP, WIGODSKY, NORWIND                                CIPRIANI & WERNER, P.C.
KUDEL & GOLD, PA.

/s/ Demosthenes Komis                                  /s/ John A. Rego
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& Lambert’s Cable Splicing Company



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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 14th day of February 2019, a copy of the foregoing
Parties’ Stipulation of Dismissal was electronically served on:

Charles Fratus, Esquire          Debra L. Wynne, Esquire           John A. Rego, Esquire
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                                 Hunt Valley, MD 21030


                                                   /s/ Demosthenes Komis
                                                   Demosthenes Komis




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